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Honorable Judge Burgess

Courtroom 4A (4th Floor)

Bryan Simpson United States Courthouse
Jacksonville, Florida

RE: Bankruptcy #: 3:24-bk-00496-BAJ

Dear Honorable Judge Burgess,

This letter is submitted on behalf of all creditors involved in the Genie Investments bankruptcy
case. As creditors, we seek clear and definitive clarification regarding “Preliminary Hearing on
Motion for Protective Order (construed as) Filed by Creditor Kristin Stegent Doc 123
GRANTED (INTERIM BASIS) THROUGH CONTINUED HEARING.”

Our primary objective is to understand the scope and intent of this order, particularly whether it
was designed to protect all creditors in this case, as some of us continue to experience
harassment from the Debtor and their legal team. *Please see attached demand letter.

For reference, here is one factual example:

On September 30, 2020, Mr. Mitchell Mimms entered into a loan agreement with Genie
Investments, depositing $190,000 into a Genie ICA holding account, which was then transferred
to an JOLTA trust account managed by the previous principal, Michael Conor (prosecuted felon)
United States v. Connor (2:23-cr-00067}, of Genie Investments. However, Mr. Mimms never
received the full loan; instead, he received a single tranche payment that was less than his

agreed terms.

Recently, Mr. Mimms received a demand through the Zoomeral communications portal, followed
by a mailed formal demand letter from Genie, dated August 5, 2024. This Zoomeral letter was
received by Mr. Mimms, who is a listed creditor in this case, just prior to the August 8 hearing.
However, he also received a certified letter several days after the hearing date, on August 18,
2024, ten days after the bankruptcy was converted to Chapter 7.

AS OF TODAY, September 3, 2024, Mr Mimms was contacted at 10am by David Hughes and
the principal of the now bankrupt Genie Investments. (See attached screenshot).
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Mr. Mimms, along with other creditors, are deeply concerned that Genie has issued such
demands despite that Genie’s principal has testifted under oath on multiple occasions, stating
their intention to repay all creditors in full: “if you put a dollar tn, you should get that dollar back.”
Mr. Mimms is among the earliest claimants in this pyramid lending scheme, having initially
invested in 2020. Although he received a tranche payment, it did not cover his original ICA
deposit, leaving him still at a loss of over $45,000, after accounting for fees taken by Genie and

Zoomeral.

It is an indisputable fact that Mr. Mimms is a creditor with a recorded proof of claim and is listed
in the bankruptcy schedules filed. Genie has been making demands for him to wire money yet
to another bank account that has not been disclosed in the Schedules or in Maria Yip’s Report,
TD Bank Account #44444742343. Which we believe is not a Debtor-in-Possession (DIP)
account.

This type of harassment has been ongoing in multiple instances with various creditors, even
while Genie is in bankruptcy. Mr. Mimms, along with other creditors, feel that this matter should
be reported to the court. For over four years, Mr. Mimms has been dealing with fraudulent UCC
lien filing against his business, which took two years to release, along with other damages he
has suffered due to Genie unjustifiably taking his money and failing to fulfill the promises and
agreements made in the loan contract. To this day, Mr. Mimms has not received his $760,000
loan, despite learning throughout this bankruptcy process that Genie has managed
multi-millions of dollars over the past four years while he has been waiting for the Debtor to fund
his loan.

We request clarification on the following:

Does Genie stil! maintain the business account into which Mr. Mimms are being demanded to
deposit money? and if so, is this not in violation of the Bankruptcy Code and court-imposed
rules?

Can the court confirm that the protective order issued by your Honor extend to all creditors in
this case?

Substantive Consolidation:
Genie Investments NV is using “ Zoomeral’ and “Genie Investments, LLC” to harass creditors
and continue to fraud them with requests for funds.

Can the court consider an order of “substantive consolidation” to have all Genie entities
combined into this bankruptcy?
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Dates of Formation of Corporations Location Owner
formation
3/6/2018 | Zoomerai, Inc Delaware David Hughes (7?)
2/13/2020 | Genie Investments, LLC Delaware David Hughes (?)
11/29/2021 |Genie Investments |, LLC Delaware David Hughes (7?)
12/17/2021 |Genie Investments NV Nevada David Hughes
Caleb Davis
Michael Connor
John M Gohan
3/4/2022 |Genie Investments, LLC Wyoming David Hughes (7)
9/14/2022 |Genie Investments li LLC Delaware
3/21/2023; Formation of Genie's Angels (Delaware) Delaware
{changed name to Merkton Group LUC as of
2/26/2024) *post filing 5 days after bankruptcy.
3/17/2023 |Genie Investments NV, Inc Utah David Hughes
3/22/2023 |Genie Investments NV California John Michael Cohan
STATEMENT ANB DESIGNATION -
OUT-OF-STATE /
STOCK CORPORATION
5/9/2023 |Genie Investments, LLC Wyoming
3/29/2024 |Genie Investments NV, Inc Utah David Hughes
4/25/2024 |Genie Investments NV, Inc Florida John M Cohan

*Nierkton Group LLC formally known as Genie’s Angels LLC
Genie’s Angels LLC is listed in this bankruptcy as another shell company that has had funds
deposited shown in the schedules of this bankruptcy.

~ We the creditors are concerned that the Merkton Group LLC has the same corporate filing

number as Genie’s Angels. We have confirmed it is a name change with Delaware Division of
Corporations as of February 26, 2024. We question this could be another potential scam lender
insider company of the Debtors. Here is the link to the website of the new lender that raises

questions if it belongs to this Debtor in this case.

https://merktongroup.com/

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One other recent questionable filing...

Adam Walker

An “Application to Employ Adam Walker as Special Counsel Attorney for Debtor with supporting
Affidavit Contains negative notice. Filed by Bryan K. Mickier on behalf of Debtor Genie
Investments NV Inc.” on March 28, 2024 (doc 37)

Adam Walker was not involved in the case to any other degree, nor did he contribute to the
benefit of the bankruptcy estate. There is no order approving his application.

“Final Application for Compensation for Adam Walker as Special Counsel for Debtor for Genie

Investments NV Inc., Special Counsel, Fee: $21,037.50, Expenses: $0.00, for the period of
7/9/2024 to 8/9/2024” (doc 235)

We appreciate your attention to these matters and kindly request clarity on these issues.

Thank you,

Creditors of Genie Bankruptcy
Bankruptcy case#: 3:24-bk-00496-BAJ

Z&, New contact photo

available Update >

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Feb 15, 2023 at ofA Pat

Today 20:10 At

When do you have time for a
call.

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(NVESTMENTS

MIMS-IPR, LLC
ZGOOMERAL USER ID: 1055

August 2, 2024
Re: Demand for Outstanding Principal

Dear Mitchell Mims,

; outstanding princ! in the amount of One .
This correspondence serves a ee pode red vader our oereement ee ee mediate As of April 15,
hundred ninety thousand dollars ($190,000) ow ten the breach within the
2024, you were in defauitof the terms outlined in our agreement and YOU faled to cure

allotted 60-day period.

Before proceeding with any legal action, we wish to extend an opportunity foran amicable resoketion. We
are open to discussing a feasible setement pian that works for both parties. Please contact us at you
earliest convenience to initiate these discussions via this messaging system.

For your reference, here are your current totals:

Outstanding Principal (OP): $190,000
(-) Interest Credit Account (ICA) balance: $155,684
Amount due today (GP fess ICA): $33,316

You can make your payment using the following Wiring Instructions for Wires or ACH:

‘ Account Number: 4444742343
ACH routing: 0670-14822
‘Wire routing: 031101266
\ Title: Genie investments LLC
, Address: P.O, Box 60443, Jacksonville, Florida 32236
{ Bank Name: TD Bank

Bank Address: 32 Chestnut Street, P.O. Box 1377, Lewiston, Maine 04243-1377

However, should we not receive a response within 5 business days from the date of this letter, we will be
compelled to pursue collection actions as afforded to us under our agreement and applicable law.

Thank you for your prompt attention to this matter. We look forward to resolving this issue promptly.
Yours sincerely,
Gente Inyestmenty

Genie Investments
Legal Team

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